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FILED
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Attorneys for Plaintiff
UNITED STATES OF AMERTCA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

9GR00642-VaAr
UNITED STATES OF AMERICA, 1a uN &
Plaintiff, — PLEA AGREEMENT
Vv.

IMAAD SHAH ZUBERI,

Defendant.

 

 

 

 

1. This constitutes the plea agreement between Imaad Shah
Zuberi (“defendant”) and the United States Attorney’s Office for the
Central District of California (the “USAO”) in the above-captioned
case. This agreement is limited to the USAO and cannot bind any
other federal, state, local, or foreign prosecuting, enforcement,

administrative, or regulatory authorities.

 

 

 
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DEFENDANT’S OBLIGATIONS

 

2. Defendant agrees to:

a. Post a $3 million bond at arraignment secured by $3
million transferred into his attorney’s trust account prior to
arraignment and no later than October 25, 2019.

b. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the
Court, appear and plead guilty to a three-count information in the
form attached to this agreement as Exhibit A or a substantially
similar form, which charges defendant with violations of the Foreign
Agents Registration Act (“FARA”) in violation of 22 U.S.C. §§ 612,
618 (a) (2), tax evasion in violation of 26 U.S.C. § 7201, and Federal
FRlection Campaign Act (“FECA”) offenses aggregating in excess of
$25,000 in violation of 52 U.S.C. §§ 30116, 30118, 30121, 30122, and
30109 (d) (1).

c. | Not contest facts agreed to in this agreement.

d. Abide by all agreements regarding sentencing contained
in this agreement.

e. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

f. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S8.G:” or “Sentencing Guidelines”) § 4Al1.2(c) are not
within the scope of this agreement.

g. Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

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h. Pay the applicable special assessments at or before
the time of sentencing.
PAYMENT OF TAXES OWED
3. Defendant admits he owes additional federal income taxes
for the years 2012, 2013, 2014, and 2015 as reflected in an Internal
Revenue Service (“IRS”) closing agreements (“the Closing Agreements”)
executed by defendant and his spouse on September 17 and on October
4, 2019. Defendant agrees to:

a. Pay the tax deficiencies, fraud penalties imposed by
the Internal Revenue Code, and statutory interest obligations as
acknowledged in the Closing Agreements, prior to January 31, 2020.

b. Acknowledge that nothing in this agreement forecloses
or limits the ability of the IRS to examine and make adjustments to
any tax returns filed by defendant for any other year.

1. _ In the event defendant fails to pay the tax
deficiencies, fraud penalties, and statutory interest obligations
acknowledged in the Closing Agreements by January 31, 2020, agree the
TRS may file and record three quit claim deeds executed by defendant
on September 17, 2019 on behalf of the LLCs that own properties in
favor of the defendant, file and record liens on these properties,
and sell the properties in partial or complete satisfaction of the
debt identified in the Closing Agreements. Any proceeds that exceed
amounts owed under the Closing Agreements plus monetary obligations
imposed by the court regarding special assessments, restitution or

fines at sentencing shall be returned to defendant.

 

 

 
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c. Not file any claim for refund of taxes, penalties, or
interest for amounts attributable to the returns filed in connection
with this plea agreement.

d. Give up any and all objections that could be asserted
to the Examination Division of the IRS receiving materials or
information obtained during the criminal investigation of this
matter, including materials and information obtained through grand
jury subpoenas.

e. Allow all funds posted as bond in this matter to be
applied by the Court to pay, in order of application, the tax
deficiencies, fraud penalties, and statutory interest obligations
acknowledged in the Closing Agreements, special assessments, criminal
fines, and costs that defendant is required to pay, and execute
papers as necessary to accomplish this application.

FARA COMPLIANCE
4. Defendant agrees to satisfy any and all obligations under
FARA prior to sentencing, including registering for any and all
activity, past or present, that requires registration under FARA and
amending any deficiencies in existing FAFA filings.

THE USAO’S OBLIGATIONS

 

5. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

c. Provided that defendant demonstrates an acceptance of
responsibility for the charged offenses as defined in U.S.S.G.
§ 1BEL.1, including as further explained in its application notes and

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in particular Note 1(A), recommend a two-level reduction in the
applicable Sentencing Guidelines offense level, pursuant to U.S.S.G.
§ 3E1.1, and, if necessary, move for an additional one-level
reduction if available under that section.

da. Not criminally prosecute defendant for (i) wire fraud
or mail fraud during the period 2012 through 2016 arising out of
defendant’s conduct as described in the agreed-to factual basis or in
the information filed in this matter, (ii) Foreign Bank and Financial
Account Report (“FBAR”) violations for the tax years 2012 through
2016, (iii) money laundering, and (iv) obstruction of justice.
Defendant disputes that he committed any such crimes but understands
that the USAO is free to argue, and that the Court may consider, the
aforementioned allegations and any other uncharged conduct in
determining applicable Sentencing Guidelines enhancements, the
Sentencing Guideline range, the propriety and extent of any departure
from that range, and the sentence to be imposed after consideration
of the Sentencing Guidelines and all other relevant factors under 18
U.S.C. § 3553(a).

e. Not criminally prosecute defendant’s spouse for any
criminal offense related to (i) her 2012 individual tax return, (ii)
the tax returns she co-signed with defendant for the 2013, 2014, and
2015 calendar years, and (iii) any of the offenses recited in
paragraph 5(d) above. Defendant disputes that his spouse committed
any such offenses. Defendant acknowledges that he has discussed with
his attorney and carefully considered the possible advantages and
disadvantages to defendant of entering into this Agreement which
includes a package deal, that is, a non-prosecution agreement with

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respect to defendant’s spouse. Defendant acknowledges that he is
entering into this Agreement as part of the package deal freely and
voluntarily because defendant believes this Agreement and the package
deal to be in defendant’s best interests. Defendant acknowledges
that he is not entering into this Agreement as part of the package
deal because of threats, coercion, or other undue influence by the
USAO, his spouse, their counsel, anyone acting on their behalf, or
anyone else.

£. Defendant understands that the USAO is free to
criminally prosecute defendant for any other unlawful past conduct or
any unlawful conduct that occurs after the date of this agreement.

NATURE OF THE OFFENSE

 

6. Defendant understands that for defendant to be guilty of
the crime charged in count one, that is, FARA offenses in violation
of 22 U.S.C. §§ 612, and 618(a) (2), the following must be true:

a. Defendant acted in the United States as an agent of a
foreign government or foreign national;

b. Defendant was required to file a registration
statement with the U.S. Attorney General within ten days of becoming
such an agent;

Cc. Defendant either filed, or caused to be filed, a
registration statement, knowing that the statement contained
materially false information, omitted a material fact required to be
stated in the registration statement, or withheld material facts or
documents necessary to make the statement not misleading; and

d. Defendant acted willfully.

 

 

 
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7. Defendant understands that for defendant to be guilty of
the crime charged in count two, that is, tax evasion, in violation of
Title 26, United States Code, Section 7201, the following must be
true:

a. A substantial income tax was due in addition to that
declared on the defendant’s tax return;

b. The defendant attempted to evade or defeat this
additional tax; and

c. The defendant acted willfully.

8. Defendant understands that for defendant to be guilty of
the crime charge in count three, FECA offenses aggregating in excess
of $25,000, in violation of 52 United States Code §§ 30116, 30118,
30121, 30122, and 30109(d)(1), the following must be true:

a. Defendant solicited, aided, caused to be made, or made
FECA contributions (i) in excess of quantitative limits, (ii) from
foreign nationals or entities, (iii) in the name of another person,
or (iv) through conduits;

b. Defendant knew the contributions were unlawful and
acted willfully; and

Cc. The aggregate value of the illegal contributions
exceeded $25,000 within a calendar year.

PENALTIES AND RESTITUTION

 

9. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 22, United States
Code, Sections 612 and 618(a) (2) is: five-years imprisonment; a

three-year period of supervised release; a fine of $250,000 or twice

 

 

 
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the gross gain or gross loss resulting from the offense, whichever is
greatest; and a mandatory special assessment of S1LOO.

10. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 26, United States
Code, Section 7201, is: five-years imprisonment; a three-year period
of supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; anda
Mandatory special assessment of $100.

11. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 52, United States
Code, Sections 30116, 30118, 30121, 30122, and 30109(d) (1) is: five-
years imprisonment; a three-year period of supervised release; a fine
of $250,000 or twice the gross gain or gross loss resulting from the
offense, whichever is greatest; and a mandatory special assessment of
$100.

12. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
15-years imprisonment; a three-year period of supervised release; a
fine of $750,000 or twice the gross gain or gross loss resulting from
the offenses, whichever is greatest; and a mandatory special
assessment of $300.

13. Defendant understands and agrees that the Court: (a) may
order defendant to pay restitution in the form of any additional
taxes, interest, and penalties that defendant owes to the United
States based upon the count of conviction and any relevant conduct;
and (b) must order defendant to pay the costs of prosecution, which
may be in addition to the statutory maximum fine stated above.

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14. Defendant agrees that any FECA contribution refunds
disbursed from political campaign committees relating to offenses
identified in this plea agreement or sentencing briefs should be
made, by certified check and/or money order, to “Clerk, United States
District Court,” reference the case name and case number, and be
delivered to the Fiscal Department of the Clerk’s Office for the
Central District of California at 255 East Temple Street, Room 1178,
Los Angeles, California 90012. Cf. United States v. Gaytan, 342 F.3d
1010 (9th Cir. 2003). Defendant agrees that in the event he receives
any contribution refunds prior to sentencing he will disgorge those
amounts by certified check and/or money order as set forth above.
Defendant agrees that at the time of sentencing, restitution should
be ordered in an amount equal to the disgorgements received by the
Clerk of the Court in favor of the Federal Election Commission.
Nothing in this agreement waives or limits in any way the authority
of the Federal Election Commission to seek civil penalties or other
administrative remedies for violations of FECA pursuant to Title 52,
United States Code, Section 30109(a).

15. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

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16. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.
Defendant understands that once the court accepts defendant’s guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty plea.

17. Defendant understands that, if defendant is not a United

States citizen, the felony conviction in this case may subject

defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant’s attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant’s guilty
plea.
FACTUAL BASIS

18. Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts attached as Exhibit B

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and agree that this statement of facts is sufficient to support a
plea of guilty to the charges described in this agreement and to
establish the Sentencing Guidelines factors set forth in paragraph 20
below but is not meant to be a complete recitation of all facts
relevant to the underlying criminal conduct or all facts known to
either party that relate to that conduct.
SENTENCING FACTORS

19. Defendant understands that in determining defendant’s
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction.

20. Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:

Tax

Base level (loss $3.5m - $9.5m) 24 [U.8.8.G §2T1.1(a) (1); 274.1]

FECA

Base offense level = 8 {U.S.S.G. §2C1.8(a)]
Value ($250,000 - $1,500,000) +12 or 14 [U.S.S.G. §2C1.8(b) (1)]
Number of transactions (>30) +2 | [U.S.8.G. §2C1.8(b) (4)]

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FARA

 

The defendant and the USAO agree that the Sentencing Guidelines
do not contain a guideline for a FARA violation, but call for the use
of the most analogous guideline. U.S.S.G. §§ 2B1.2(a) and 2X5.1.
Under the facts of this case, the parties agree that there is no
sufficiently analogous guideline. Thus, the 3553 factors shall
control, except that any guidelines and policy statement that can be
applied meaningfully shall remain applicable. U.S.S.G. § 2X5.1.

21. Defendant and the USAO agree that the FECA and tax fraud
offenses do not group for purposes of U.S.S.G § 3D1.2(d).

22. Defendant understands that the USAO reserves the right to
argue that the following additional specific offense characteristics,
adjustments, and departures under the Sentencing Guidelines are
appropriate:

a. unreported income derived from criminal activity

exceeding $10,000 pursuant to U.S.S.G § 2T1.1(b) (1);

b. tax offense involving sophisticated means pursuant to

U.S.S.G § 2T1.1(b) (2);

c. aggregate amount of FECA violations pursuant to

U.S.S.G § 2C1.8(b) (1);

d. ‘foreign sourced FECA contributions pursuant to U.8.8.G

§ 2C1.8(b) (2); and

e. obstruction or impeding the administration of justice
pursuant to U.S.S.G § 3C1.1.
Subject to paragraph 36 below, defendant and the USAO agree not to
seek, argue, or suggest in any way, either orally or in writing, that
any other specific offense characteristics, adjustments, or

departures relating to the offense level be imposed.

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23. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.
Defendant and the USAO reserve the right to argue for a sentence
outside the sentencing range established by the Sentencing Guidelines
based on the factors set forth in 18 U.S.C. § 3553(a) (1), (a) (2),
(a) (3), (a) (6), and (a) (7).

WAIVER OF CONSTITUTIONAL RIGHTS

 

24. Defendant understands that by pleading guilty, defendant
gives up the following rights:
a. The right to persist in a plea of not guilty.
b. The right to a speedy and public trial by jury.
Cc. The right to be represented by counsel -- and if
necessary have the court appoint counsel -- at trial. Defendant

understands, however, that, defendant retains the right to be

represented by counsel ~- and if necessary have the court appoint
counsel -- at every other stage of the proceeding.
d. The right to be presumed innocent and to have the

burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e, The right to confront and cross-examine witnesses
against defendant.

£. The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify.

g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

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h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF STATUTE OF LIMITATIONS

 

25. Having been fully advised by defendant’s attorney regarding
application of the statute of limitations to the offenses to which
defendant is pleading guilty, defendant hereby knowingly,
voluntarily, and intelligently waives, relinquishes, and gives up:
(a) any right that defendant might have not to be prosecuted for the
offenses to which defendant is pleading guilty because of the
expiration of the statute of limitations for those offenses prior to
the filing of the information alleging those offenses; and (b) any
defense, claim, or argument defendant could raise or assert that
prosecution of the offenses to which defendant is pleading guilty is
barred by the expiration of the applicable statute of limitations,
pre-indictment delay, or any speedy trial violation.

WAIVER OF VENUE

26. Having been fully advised by defendant’s attorney regarding
the requirements of venue with respect to the offenses to which
defendant is pleading guilty, to the extent the offenses to which
defendant is pleading guilty were committed, begun, or completed
outside the Central District of California, defendant knowingly,
voluntarily, and intelligently waives, relinquishes, and gives up:
(a) any right that defendant might have to be prosecuted only in the
district where the offenses to which defendant is pleading guilty

were committed, begun, or completed; and (b) any defense, claim, or

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argument defendant could raise or assert based upon lack of venue
with respect to the offenses to which defendant is pleading guilty.
WAIVER OF APPEAL OF CONVICTION

27. Defendant understands that, with the exception of an appeal
based on a claim that defendant’s guilty plea was involuntary, by
pleading guilty, defendant is waiving and giving up any right to
appeal defendant’s convictions on the offenses to which defendant is
pleading guilty. Defendant understands that this waiver includes any
and all claims that the statement of facts provided herein is
insufficient to support defendant’s plea of guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 

28. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction within or below the
range corresponding to an offense level of 32 and the criminal
history category calculated by the Court, defendant gives up the
right to appeal all of the following: (a) the procedures and
calculations used to determine and impose any portion of the
sentence; (b) the term of imprisonment imposed by the Court; (c) the
fine imposed by the court, provided it is within the statutory
maximum; (d) to the extent permitted by law, the constitutionality or
legality of defendant’s sentence, provided it is within the statutory
maximum; (e) the term of probation or supervised release imposed by
the Court, provided it is within the statutory maximum; and (f) any
of the following conditions of probation or supervised release
imposed by the Court: the conditions set forth in General Order 18-10

of this Court; the drug testing conditions mandated by 18 U.S.C.

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8§ 3563(a) (5) and 3583(d); and the alcohol and drug use conditions
authorized by 18 U.S.C. § 3563(b) (7).

29. The USAO agrees that, provided that the Court imposes a
term of imprisonment within the statutory maximum, to give up its
right to appeal any portion of the sentence, with the exception that
the USAO reserves the right to appeal the amount of restitution
ordered.

RESULT OF WITHDRAWAL OF GUILTY PLEA

 

30. Defendant agrees that if, after entering guilty pleas
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty pleas on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement; and (b) should the USAO choose to
pursue any charge that was either dismissed or not filed as a result
of this agreement, then (i) any applicable statute of limitations
will be tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action; and
(ii) defendant waives and gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such action, except to the extent
that such defenses existed as of the date of defendant’s signing this
agreement.

RESULT OF VACATUR, REVERSAL OR SET-ASIDE

31. Defendant agrees that if any count of conviction is
vacated, reversed, or set aside, the USAO may: (a) ask the Court to
resentence defendant on any remaining count of conviction, with both

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the USAO and defendant being released from any stipulations regarding
sentencing contained in this agreement, (b) ask the Court to void the
entire plea agreement and vacate defendant’s guilty plea on any
remaining count of conviction, with both the USAO and defendant being
released from all their obligations under this agreement, or

(c) leave defendant’s remaining conviction, sentence, and plea
agreement intact. Defendant agrees that the choice among these three
options rests in the exclusive discretion of the USAO.

EFFECTIVE DATE OF AGREEMENT

 

32. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

 

33. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant’s counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant’s obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. All of defendant's obligations
are material, a single breach of this agreement is sufficient for the
USAO to declare a breach, and defendant shall not be deemed to have
cured a breach without the express agreement of the USAO in writing.
If the USAO declares this agreement breached, and the Court finds
such a breach to have occurred, then: (a) if defendant has previously
entered a guilty plea pursuant to this agreement, defendant will not
be able to withdraw the guilty plea, and (b) the USAO will be
relieved of all its obligations under this agreement.

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34. Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
that was either dismissed or not filed as a result of this agreement,
then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action.

b. Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such action, except to the
extent that such defenses existed as of the date of defendant’s
signing this agreement.

c. Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a hearing
occurred prior to the breach); (ii) the agreed to factual basis
statement in this agreement; and (iii) any evidence derived from such
statements, shall be admissible against defendant in any such action
against defendant, and defendant waives and gives up any claim under
the United States Constitution, any statute, Rule 410 of the Federal
Rules of Evidence, Rule 11(f£) of the Federal Rules of Criminal
Procedure, or any other federal rule, that the statements or any
evidence derived from the statements should be suppressed or are
inadmissible.

COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

 

OFFICE NOT PARTIES
35. Defendant understands that the Court and the United States
Probation and Pretrial Services Office are not parties to this

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agreement and need not accept any of the USAO’s sentencing
recommendations or the parties’ agreements to facts or sentencing
factors.

36. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation and Pretrial Services Office and the
Court, (b) correct any and all factual misstatements relating to the
Court's Sentencing Guidelines calculations and determination of
sentence, and (c) argue on appeal and collateral review that the
Court's Sentencing Guidelines calculations and the sentence it
chooses to impose are not error, although each party agrees to
maintain its view that the calculations in paragraph 20 are
consistent with the facts of this case. While this paragraph permits
both the USAO and defendant to submit full and complete factual
information to the United States Probation and Pretrial Services
Office and the Court, even if that factual information may be viewed
as inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant’s and the USAO’s obligations not
to contest the facts agreed to in this agreement.

37. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant’s guilty pleas, and defendant will remain bound to

fulfill all defendant’s obligations under this agreement. Defendant

understands that no one -- not the prosecutor, defendant’s attorney,
or the Court -- can make a binding prediction or promise regarding
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the sentence defendant will receive, except that it will be within

the statutory maximum.

NO ADDITIONAL AGREEMENTS

 

38. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant’s attorney, and that no additional

promise, understanding, or agreement may be entered into unless in a

 

 

writing signed by all parties or on the record in court.
PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
39. The parties agree that this agreement will be considered
part of the record of defendant’s guilty plea hearing as if the
entire agreement had been read into the record of the proceeding.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF

  
 

 

 

 

 

 

 

   

 

 

CALIFORNIA
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AnkrkL J. O'BRIEN Date
Assistant United States Attorney
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CERTIFICATION OF DEFENDANT

 

I have read this agreement in its entirety. I have had enough
time to review and consider this agreement, and I have carefully and
thoroughly discussed every part of it with my attorney. I understand
the terms of this agreement, and I voluntarily agree to those terms.
I have discussed the evidence with my attorney, and my attorney has
advised me of my rights, of possible pretrial motions that might be
filed, of possible defenses that might be asserted either prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement. No promises, inducements, or
representations of any kind have been made to me other than those
contained in this agreement. No one has threatened or forced me in
any way to enter into this agreement. I am satisfied with the
representation of my attorney in this matter, and I am pleading
guilty because I am guilty of the charges and wish to take advantage
of the promises set forth in this agreement, and not for any other

reason.

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IMAAD SHAH ZUBERI a Date! |

Defendant

CERTIFICATION OF DEFENDANT’ S ATTORNEY
We are Imaad Shah Zuberi’s attorneys. We have carefully and
thoroughly discussed every part of this agreement with our client.
Further, we have fully advised our client of his rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors

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set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To our knowledge: no promises, inducements, or representations of any
kind have been made to our client other than those contained in this
agreement; no one has threatened or forced our client in any way to
enter into this agreement; our client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis set
forth in this agreement is sufficient to support our client’s entry

of a guilty plea pursuant to this agreement.

 

 

THOMAd P. O’BRIEN Date
Attorney for Defendant
Imaad Shah Zuber

f/f

 

EVAN J. DAVIS J ~ Date
Attorney for Defendant
Imaad Shah Zuberi

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EXHIBIT A

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
v.

IMAAD SHAH ZUBERI,

Defendant.

 

 

 

 

No. CR

INFORMATION

[22 U.S.C. §§ 612, 618(a) (2):
Violations of the Foreign Agents
Registration Act; 26 U.S.C.

§ 7201: Tax Evasion;

52 U.S.C. §§ 30116, 30118, 30121,
30122, 30109(d) (1): Foreign,
Conduit, and Other Illegal
Campaign Contributions]

The United States Attorney charges:

INTRODUCTORY ALLEGATIONS

A. Defendant’s Political & Business Activities

 

1. From in or about 2010 through the present, defendant IMAAD

SHAH ZUBERI operated an informal entity named Avenue Ventures, a

venture capital firm. As part of his operation of Avenue Ventures,

defendant ZUBERI told foreign nationals, representatives of foreign

governments, and others that he could implement changes to United .

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States foreign policy by wielding his influence in Washington, D.C.
Defendant ZUBERI typically advertised these political policy changes
as devices to construct profitable business and investment
opportunities for his clients as weil as himself.

2. ° Defendant ZUBERI and Avenue Ventures obtained funds from
this business plan in multiple ways. Some of defendant ZUBERI’s
clients agreed to pay him consulting or retainer fees. Other clients
agreed to transfer money to defendant ZUBERI to invest in specific
business ventures for the benefit of these clients. Other clients
agreed to transfer money to defendant ZUBERI to fund political
campaign contributions in an effort to create business opportunities
for themselves.

3. Defendant ZUBERI used a portion of these funds to donate
contributions to the political campaigns of federal and state
officials. Between on or about September 1, 2011 and on or about
February 24, 2017, the day when defendant ZUBERI became aware of the
U.S. Government’s criminal investigation, defendant ZUBERI made over
$3,000,000 in contributions, in either his own name or that of his
spouse, to various Democratic and Republican federal election
campaigns, and Presidential Inauguration Committees. Between on or
about September 1, 2011 and on or about November 7, 2016, defendant
ZUBERI also “bundled” over a million dollars of contributions from
various third parties as a fundraiser for campaigns for Presidential
elections and several other candidates for elected office.

4. Through these political contributions, defendant ZUBERI
obtained access to high-level United States officials. Defendant
ZUBERI attempted to persuade these public officials to modify
existing United States policies and: take other actions on behalf of,

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and favorable to, defendant ZUBERI’s clients. In an effort to
convince his clients of his ability to wield influence, defendant
ZUBERI broadcast this access by distributing photographs of defendant
ZUBERI meeting with high-ranking elected officials and describing
conversations in which they purportedly discussed public policies of
international importance.

5. Defendant ZUBERI used a portion of the funds from his
business plan to hire lobbyists and public relations consultants who
assisted his efforts to influence and transform public policy and
opinion in the United States.

6. Defendant ZUBERI’s campaign contributions, public relations
work, and lobbying efforts generated marginal results. Some United
States officials, however, were willing to adopt defendant ZUBERI’s
requested political positions or otherwise accommodate defendant
ZUBERI’s wishes.

7. Defendant ZUBERI’s business ventures were largely
unsuccessful for his clients. Indeed, most of defendant ZUBERI’s
clients suffered significant monetary losses stemming from their
business associations with defendant ZUBERI. Many of the lobbyists,
public relations consultants, and other subcontractors also suffered
losses when defendant ZUBERI refused to pay them the agreed-upon fees
for services they rendered.

8. In contrast to the losses suffered by his clients and
subcontractors, defendant ZUBERI gained substantial wealth. This
newfound wealth was almost entirely obtained as a result of (a)
fraudulent representations concerning defendant ZUBERI’s education,
experience, family wealth, business, employees, investment successes,
financial condition, political power, and the disposition of client

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funds, and (b) the outright conversion of client money for defendant
ZUBERI’s own personal benefit.

B. The Foreign Agents Registration Act

 

9. The Foreign Agents Registration Act (“FARA”) was, and is, a
disclosure statute that requires any person acting as “an agent of a
foreign principal” to register with the Attorney General of the
United States in connection with certain types of activities, such as
political or public relations efforts on behalf of the foreign
principal. Such registrations are made to the U.S. Department of
Justice, National Security Division's FARA Unit. It is a crime to
knowingly and willfully fail to register, and to make false and
misleading statements or material omissions in documents submitted to
the FARA Unit under the law's provisions.

10. One purpose of FARA is to create transparency regarding the
existence and extent of the relationship between individuals
operating in the United States and their foreign principals. Proper
registration under the statute allows the U.S. government and the
American people to evaluate the statements and activities of
individuals who are serving as agents of foreign principals. Among
other things, a FARA registration reveals the identity of the foreign
principal on whose behalf a registrant performs services, the type of
services the registrant provides the foreign principal, the source
and amount of compensation the registrant receives from the foreign
principal, and political campaign contributions made by the
registrant while the registrant was acting as an agent of the foreign
principal. The Government of Sri Lanka, a country in South Asia,

was, and is, a foreign principal under FARA.

 

 

 
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Cc. The Federal Flection Campaign Act

 

11. The Federal Election Campaign Act (“FECA”) governed, and
governs, contributions to candidates, their campaign committees, and
political committees “in United States elections.

12. FECA requires that federal candidates for public office
designate a principal campaign committee to solicit, accept, and
receive contributions and to make expenditures for the campaign.
FECA also permits the establishment of other political committees,
such as national party committees, state party committees, and
political action committees, which can solicit, accept, and receive
contributions and make expenditures for candidates and political
parties.

13. FECA requires that each treasurer of a political committee
that participates in federal elections file periodic reports to the
Federal Election Commission (“FEC”) identifying contributors by name,
address, and occupation, and the contributions provided by those
contributors by date and amount.

14. FECA prohibits:

a. Contributions from foreign nationals, meaning
individuals who are neither citizens of the United States nor
permanent residents of the United States, directly or through any
other person, in connection with any federal, state, or local
election or any presidential inaugural;

b. Contributions from foreign or domestic corporations,
partnerships, associations, or organizations in connection with any

federal election for federal office;

 

 

 
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Cc. Conduit contributions, contributions in the name of
another, or using one name to effect a contribution by another in
connection with any federal election for federal office;

d. Contributions from any person (i) in excess of $2,500
during the 2012 election cycle, $2,600 during the 2014 election
cycle, and $2,700 during the 2016 election cycle to any candidate’s
authorized political committee per federal election; (ii) in excess
of $30,800 during the 2012 election cycle, $32,400 during the 2014
election cycle, and $33,400 during the 2016 election cycle per year
to any national party committee; (iii) in excess of $10,000 per year
to any state, district, and local party committee, and (iv) in excess
of $5,000 per year to any other political committee.

D. Individuals, Entities, & Non-Existent Person

15. Person A was a foreign national, namely, a citizen of both

 

Saudi Arabia and the United Kingdom who resided in the United Kingdom
and Switzerland. Person A was the chairman of Company A, a foreign
corporation headquartered in Riyadh, Saudi Arabia. Person A’s
spouse, Person B, was a citizen of the United States.

16. Person C was a citizen of both Lebanon and the United
States, residing in Kuwait. Person C was the Chief Executive Officer
of Company B, a foreign corporation headquartered in Kuwait City,
Kuwait. Person C’s spouse, Person D, was a foreign national, namely,
a citizen and resident of Kuwait.

17. Person E was a foreign national, namely, a citizen of
Venezuela who resided in Saudi Arabia and was employed by Company A.
Person E’s spouse, Person F, was a foreign national, namely, a

Venezuelan citizen residing in Saudi Arabia.

 

 

 
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18. Person G was a citizen of the United States. Person G’s
spouse, Person H, was a foreign national, namely, a citizen of
Brazil.

19. Person I was a non-existent person created by defendant
ZUBERI to aid in his schemes.

20. U.S. Cares, LLC (“U.S. Cares”), also known as America
Cares, was a Delaware limited liability corporation, created at the
direction of defendant ZUBERI on or about December 13, 2013. On or
about November 24, 2014, defendant ZUBERI submitted an application on
behalf of U.S. Cares for a license from the Office of Foreign Assets
Control (“OFAC”) to allow U.S. Cares to export humanitarian items,
including food, medicine, and medical supplies, to Iran.

21. Person J was a foreign national, namely, a citizen of
Bahrain, executive of Company C, and Chairman of Company D, both
foreign entities. In or about August 2013, Company D invested in
U.S. Cares.

22. Person K was a foreign national, namely, a citizen of the
United Arab Emirates and Singapore and Managing Partner of Company E,
a foreign entity. In or about August 2013, Company E invested in
U.S. Cares. |

23. Person L was a foreign national, a citizen of United Arab
Emirates and Chief Executive Officer of Company F, a foreign entity.
In or about October 2013, Company F invested in U.S. Cares. On or
about April 29, 2014, OFAC designated both Person L and Company F as
Specially Designated Nationals. This designation prohibited United
States persons from engaging in business with, blocked the assets of,

and imposed other restrictions against Person L and Company F. In or

 

 

 
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about November 2014, Company F sold its shares in U.S. Cares to
Company D.

24. Person M was a foreign national, namely, a citizen of
Kuwait and principal of Company G, a foreign entity. In or about
December 2013, Company G invested in U.S. Cares.

-25. Person N was a foreign national, namely, a citizen of India
and principal of Company H, a foreign entity. In or about December
2013, Company H invested in U.S. Cares.

26. From on or about April 9, 2009 through July 14, 2014, WR
Group was an informal entity. On or about April 19, 2009, Person O
opened a Bank of America account in the name of WR Group (“WR”), with
herself as sole signatory, in which she described WR as a sole
proprietorship.

27. Person P was a former college classmate of defendant
ZUBERI. From January 2014 through October 2015, defendant ZUBERI
paid Person P $5,000 per month to perform a variety of tasks on
behalf of defendant ZUBERI and Avenue Ventures. On or about July 14,
2014, at the direction of defendant ZUBERI, Person P obtained a
certificate of organization in Washington, D.C. designating WR Group
as a limited liability company (“WR, LLC”).

28. On or about May 23, 2014, at the direction of defendant
ZUBERI, Person P incorporated Beltway Government Services, Inc.
(“BGS”). That same day, Person P opened several Wells Fargo bank
accounts (the “BGS accounts”) in which he identified himself as owner
and sole signatory.

29. Person Q was an associate of defendant ZUBERI. From July
2014 through September 2014, defendant ZUBERI directed Person P to
pay $2,500 per month out of the BGS accounts to the benefit of Person

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Q in return for his agreement to act as a second signatory on the BGS
accounts.

30. Throughout the existence of WR LLC and BGS, Person P
nominally governed both entities but they were actually always
subject to the control of defendant ZUBERI. Defendant ZUBERI
directed Person P to sign contracts, issue invoices, transfer funds,
pay expenses, and forebear from paying expenses. Person P followed
defendant ZUBERI’s instructions with respect to how to operate these
entities.

31. Person R was a business associate of defendant ZUBERI and a
candidate for federal elective office during the 2016 election cycle.
32. Person $ was a foreign national, namely, a citizen of

Bahrain, and high-ranking official of the Bahrain government.

BE. Conduit Campaign Contributions

 

33. From on or about April 27, 2012 through on or about October
26, 2016, defendant ZUBERI paid for campaign contributions donated in
the name of other individuals by making the following online payments

with credit cards belonging to defendant ZUBERI and his spouse:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Campaign Contributor Amount
4/27/12 Campaign A Person BB $2,500
4/27/12 Campaign A Person CC $2,500
4/27/12 Campaign A Person DD $2,500
10/26/12 | Campaign B Person EE $5,000
4/5/13 Campaign C Person FF $2,600
4/14/13 Campaign C Person FF $2,600
4/22/13 Campaign D Person B $2,600
4/22/13 Campaign D Person B $2,600
5/31/13 Campaign C Person B $2,600
5/31/13 Campaign C Person B $2,600
5/31/13 Campaign C Person C $2,600
5/31/13 Campaign C Person C $2,600
12/23/13 | Campaign E Person FF | $2,600
12/23/13 | Campaign E Person FF $2,600

 

 

 

 

 
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12/26/13 | Campaign F Person FF $2,600
12/26/13 | Campaign F Person FF $2,600
1/27/14 Campaign C Person GG $2,400
1/27/14 Campaign F Person GG $2,600
1/27/14 Campaign C Person GG $2,600
1/27/14 Campaign F Person GG $2,600
1/27/14 Campaign C Person P $2,400
1/27/14 Campaign F Person P $2,600
1/27/14 Campaign C Person P $2,600
1/27/14 Campaign F Person P $2,600
4/19/14 Campaign G Person FF $2,600
4/19/14 Campaign G Person FF $2,600
5/14/14 Campaign G Person FF $2,600
5/14/14 Campaign G Person HH $2,600
9/25/14 Campaign H Person FF $2,600
2/3/15 Campaign I Person C $5,200
3/3/15 Campaign J Person B $2,700
3/3/15 Campaign J Person FF $2,700
3/3/15 Campaign J Person A $2,700
3/3/15 Campaign J Person C $2,700
5/27/15 Campaign C Person B $5,400
9/28/16 Campaign J Person C $400

9/28/16 Campaign J Person B $2,700
9/28/16 Campaign J Person B $2,700
9/28/16 Campaign J Person A $2,700
9/28/16 Campaign J Person A $2,700
9/28/16 Campaign J Person II $2,700
9/28/16 Campaign J Person II $2,700
10/26/16 | Campaign K Person B $2,700

34. From on or about February 26, 2013 through on or about

October 28, 2016, defendant ZUBERI paid for campaign contributions

donated in the name of Person AA, a family member who passed away on

or about April 2, 2016, by making the following online payments with

credit cards belonging to defendant ZUBERI:

 

 

 

 

 

 

 

 

 

 

Date Campaign Contributor Amount
4/22/13 Campaign D Person AA $2,600
4/22/13 Campaign D Person AA $2,600
12/6/13 Campaign E Person AA $2,600
12/6/13 Campaign E Person AA $2,600
12/26/13 | Campaign F Person AA $2,600

 

 

 

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12/26/13 | Campaign F Person AA $2,600
1/3/14 Campaign L Person AA $2,600
1/15/14 Campaign M Person AA $2,600
1/15/14 Campaign M Person AA $2,600
2/19/14 Campaign N Person AA $2,600
2/19/14 | Campaign N Person AA $2,600
2/28/14 Campaign O Person AA $2,600
2/28/14 Campaign B Person AA $2,600
2/28/14 Campaign B Person AA $2,600
2/28/14 Campaign O Person AA $2,600
3/21/14 Campaign L Person AA $2,600
3/21/14 |Campaign L Person AA $2,600
4/19/14 Campaign O Person AA $2,600
4/19/14 Campaign O Person AA $2,600
4/19/14 Campaign P Person AA $2,600
4/19/14 Campaign L Person AA $2,600
4/19/14 Campaign G Person AA $2,.600
4/19/14 Campaign G Person AA $2,600
6/14/14 Campaign Q Person AA $2,600
7/3/14 Campaign R Person AA $2,600
7/3/14 Campaign R Person AA $2,600
7/3/14 Campaign S Person AA $2,600
7/3/14 Campaign Ss Person AA $2,600
8/16/14 Campaign J Person AA $2,600
1/23/15 Campaign F Person AA $2,600
1/23/15 Campaign F Person AA $2,600
2/3/15 Campaign I Person AA $5,200
2/5/15 Campaign T Person AA $5,000
3/3/15 Campaign J Person AA $2,700
3/9/15 Campaign C Person AA $2,700
3/9/15 Campaign C Person AA $2,700
3/21/15 Campaign U Person AA $2,700
3/21/15 Campaign U Person AA $2,700
3/22/15 Campaign V | Person AA $2,700
3/22/15 Campaign V Person AA $2,700
4/12/15 Campaign W Person AA $2,700
6/12/15 Campaign X Person AA $2,700
12/16/15 | Campaign Y Person AA $2,700
12/16/15 | Campaign Y Person AA $2,700
10/28/16 | Campaign 2 Person AA $2,700
35. Although Person AA shared certain joint bank accounts with

defendant ZUBERI, none of those joint accounts financed the above-

referenced contributions in Person AA’s name, Person AA lacked

sufficient income to pay for all the contributions made in Person

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AA’s name, and at the time the October 28, 2016 contribution was made
in Person AA’s name, Person AA was deceased.

36. From on or about April 1, 2014 through on or about May 17,
2015, defendant ZUBERI reimbursed the following conduits for campaign

contributions they had donated at defendant ZUBERI’s direction:

 

 

 

 

 

 

 

 

 

Date Campaign Contributor Amount
4/1/14 Campaign E Person P $400

4/1/14 Campaign E Person P $2,600
5/5/15 Campaign W Person JJ $2,700
5/17/15 Campaign W Person KK $1,350

 

 

37. From on or about September 27, 2013 through on or about
April 14, 2016, defendant ZUBERI solicited and received the following
reimbursements for campaign contributions, or portions of campaign

contributions, defendant ZUBERI had donated in his own name:

 

 

 

 

 

 

 

 

 

 

Date Campaign Source of Funds Amount
9/27/13 | State Campaign AA Person J $25,000
9/16/14 | Campaign BB Person LL $16,000
4/14/16 | Campaign CC Person LL $35,000
BF. Foreign Sources of Campaign Contributions

 

38. Beginning on or about May 2, 2012 and continuing to on or
about February 11, 2016, in response to defendant ZUBERI’s
solicitations, Person A and Person C caused Company A and Company B
to issue the following wire transfers into a foreign bank account in
the name of defendant ZUBERI (“the IZ Barclays Dubai account”) that
either funded or reimbursed contributions to the following political

campaigns and a FECA-regulated event (“Event EB”):

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Company A | Date Company B | Date Zuberi Acct. Purpose
to to Zuberi
Company B
$136,600 | 5/1/12 Zuberi Campaign B &
Barclays Dubai | Campaign DD
$71,600 6/11/12 Zuberi Campaign DD
Barclays Dubai
$90,000 9/26/12 Zuberi Campaign DD
. Barclays Dubai
$180,000 | 10/10/13 | $180,000 | 10/1/12 Zuber Campaign DD
Barclays Dubai
$100,000 |10/21/12 | Zuberi- Campaign DD
Barclays Dubai
$100,000 11/12/12 | Zuberi Event EE
Barclays Dubai
$500,000 12/10/12 | Zuberi Event EE
Barclays Dubai
$150,000 | 1/16/13 $150,000 |1/14/13 Zuberi Event EE
Barclays Dubai
$100,000 | 5/2/13 $100,000 | 2/27/13 Zuberi Event EE
Barclays Dubai | photos
$5,000 4/30/13 Zuberi Campaign D
Barclays Dubai
$100,200 |2/11/16 | Avenue Campaign DD
Ventures
Wells Fargo US
39. Defendant ZUBERI caused Avenue Ventures to issue invoices

that disguised the nature of these foreign conduit campaign

contributions, typically by falsely characterizing the transfers as

“international consulting.”

40.

names of Person A, Person B,

These foreign,

Person I, Person 0, Person AA, and defendant ZUBERI.

41.

From on or about April 14,

conduit contributions were donated in the

Person C, Person D, Person E, Person F,

2015 through on or about May 5,

2015, defendant ZUBERI also solicited, and caused the following

campaign committees to receive, the following direct contributions

from foreign nationals knowing that they were foreign nationals:

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Date Campaign Contributor Amount
4/14/15 Campaign W Person D $2,700
4/19/15 Campaign W Person A $2,700
5/5/15 Campaign W Person H $2,700
G. Conversion of Funds Intended for Political Campaigns

 

42. Contrary to the representations made by defendant ZUBERI to
Person A and Person C, defendant ZUBERI directed only a portion of
the money wired by Company A and Company B to political campaigns and

Event EE and converted the remaining amounts to his personal benefit:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wire to Date Intended Campaign Amounts Donated | Amounts
Zuberi to Campaign Converted
$136,600 | 5/1/12 Campaign B & $100,000. $36,600
Campaign DD
$71,600 6/11/12 Campaign DD $0 $71, 600
$90,000 9/26/12 Campaign DD $89,000 $1,000
$180,000 | 10/1/12 Campaign DD $40,000 $140,000
$100,000 | 10/21/12 | Campaign DD $0 $100,000
$100,000 | 11/12/12 | Event EE SO... $100,000
$500,000 {12/10/12 | Event EE $62,500! $437,500
$150,000 | 1/14/13 Event EE $35,000 $115,000
$100,000 | 2/27/13 Event EE (photos) So $100,000
$100,200 | 2/11/16 Campaign CC $100,000 $200
Total Total Converted | $1,101,900
by ZUBERI
43. For example, on or about September 24, 2012, in connection

with his solicitation of the $90,000 and $180,000 wire transfers,

defendant ZUBERI falsely informed Person C and Person E that he had

incurred expenses of $270,000 by making contributions on their

behalf.

Deliberately using the name of a fictitious employee,

defendant ZUBERI sent an email from Robert.Reed@avenueventure.com

that falsely stated:

 

1 From on or about December 27,

2012 through on or about January

15, 2013, defendant ZUBERI made contributions of $62,500, $62,500,
$62,500, $35,000 and $35,000, totaling $257,500, and thereafter
obtained refunds from the inauguration committee of $160,000, making
the actual expenses incurred only $97,500.

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Please get me the forms and the wire as soon as possible
because there are limited number of seats available. I
have used American Express of Imaad to pay for everyone’s
dues. We need to put the names through vettin [sic]
process as well. After the wire is done, please email me
so we can move it into the correct sub-account. Thanks Rob

44, That same day, defendant ZUBERI falsely informed Person C

‘that defendant ZUBERI was approaching the credit limit on his

American Express card because of the $270,000 in contribution
expenses incurred, and attached a notice from American Express to
purportedly confirm that assertion. In fact, defendant ZUBERI
fraudulently prepared the American Express notice to inflate his
outstanding balance from approximately $3,943 to $279,998 and his
credit limit from $19,000 to $300,000.

45. From on or about September 27, 2012 through on or about
October 12, 2012, defendant ZUBERI converted approximately $141,000
of the $270,000 he received as part of this scheme and used the
majority of those funds to (a) pay off a $68,679 mortgage balance on
his personal residence, (b) transfer $40,000 to a business operated
by his spouse and her close relative, and (c) withdraw $5,000 in cash
for himself.

46. On or about January 21, 2013, defendant ZUBERI falsely
informed Person A, Person C, and Person E that there was a shortfall
in their contributions to Event EF and that a hold had been placed on
their photographs with the President and Vice-President, writing:

[Y]ou guys were supposed to take only two people for the

photo. These were $250,000 per person with President and

Vice President. I told you by mistake they had put wrong

names on the photo line. When the photo (sic) are out they

will match it with who went to the photo line versus who

paid for them or how many paid. It won’t take long for

them to figure this out. There were four people instead of

two. It will make me look like I am trying to play a fast

one with them. I do not want to take chance with my

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reputation for a couple hundred thousand dollars. It is not

worth it for me and I have too much to lose. I told them

there was a mistake made and to hold our photo until I tell

them' which one to release and not release. You need to

tell me which two people photo you want released. Let me

make it clear, except for [Person C], both [Person E] and

[Person A] have not paid enough for this specific photo.

47. In fact, as defendant ZUBERI knew, there was no shortfall
in contributions to Event EE and, in the weeks ahead, defendant
ZUBERI actually received refunds for some contributions defendant
ZUBERI had made to Event EE.

| 48. From on or about January 22, 2013 through or about February
25, 2013, defendant ZUBERI falsely informed Person C that defendant
ZUBERI personally paid $250,000 for the additional photo and that
defendant ZUBERI expected Person A to reimburse him for that expense
or else he would inform business associates not to work with Person
A. Ultimately, defendant ZUBERI informed Person A that he would
accept the reduced amount of $100,000 from Person A for the purported
reimbursement.

H. Income From anti-Bahrain Lobbying Effort

49, In or about February 2013, Person J informed defendant
ZUBERI that he was engaged in a financial dispute with Person 8S.
According to Person J, Person S won a monetary arbitration award
against Person J for services rendered in connection with the
development of the Al Areen Palace & Spa (“Al Areen”), a master
planned development in southern Bahrain. According to Person J, as a
result of this dispute with Person .S, the Government of Bahrain had
frozen Person J’s personal assets and delayed further development of
Al Areen, which was causing significant financial harm to Person J.

50. To remedy Person J’s financial dispute, defendant ZUBERI

proposed to use his connections with current and former high-ranking

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U.S. Government officials to dissuade the Bahraini government from
engaging in conduct antithetical to Person J’s financial interests
(“the anti-Bahrain lobbying effort”).

51. Defendant ZUBERI further proposed that he and Person J
convey the appearance that Avenue Ventures was investing in Al Areen.
By injecting a U.S. “investor” into the project, defendant ZUBERI
believed he could convince high-ranking U.S. Government officials to
apply political pressure on the Bahrain government into stopping its
interference in the Al Areen development because of its adverse
financial impact on a U.S. entity. Defendant ZUBERI proposed a
circular scheme through which the appearance of a U.S. investment
would be created: (a) Person J would invest in a U.S. company; (b)
the U.S. company would invest in Avenue Ventures; and (c) Avenue
Ventures would then invest in an Al Areen Holding Company (“AHC”)
that purportedly owned Al Areen.

52. From on or about March 3, 2013 through on or about May 28,
2013, defendant ZUBERI enlisted the support of a former high-ranking
U.S. official to speak with members of the Bahrain government, U.S.
State Department officials, and a Member of Congress in furtherance
of the anti-Bahrain lobbying efforts.

53. From on or about March 12, 2013 through on or about March
5, 2014, defendant ZUBERI enlisted the support of a high-ranking U.S.
State Department official in Bahrain to visit Al Areen, meet with
members of the Bahrain government, and speak with Members of Congress
in furtherance of the anti~Bahrain lobbying effort.

; 54. From on or about March 15, 2013 through on or about June 1,
2013, defendant ZUBERI discussed with Members of Congress and their
staffs how to enlist the support of the U.S. State Department in

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furtherance of the anti-Bahrain lobbying effort and arranged for
these Congresspersons to meet with Bahrain government officials.

55. On or about April 29, 2013, defendant ZUBERI staged a
public event in Los Angeles, California, at which Person J and other
individuals purported to sign a partnership agreement in which Avenue
Ventures acquired a 35% stake in AHC in return for its having made a
Sizable U.S. foreign investment in Al Areen. In fact, no such
agreement was executed.

56. Defendant ZUBERI solicited Person J for money in return for
acting as an unregistered foreign agent of Person J. On or about
August 3, 2013, defendant ZUBERI told Person J and others:

It has been several months since the Al-Areen press

conference. We need to put closure on this by Thursday

August 15. We have been asked about this project by [State

Department Official] and others including calls from

[Bahrain government officials . . .] If it is not moving

forward then we will let US State Department know that we

are not moving forward with this project.

57. On or about August 18, 2013, defendant ZUBERI warned
Person J: ,

Next week we need to either get documents signed or we need

to have a press release that we agreed not to move forward

thereby disengaging. It has been over 5-6 months which is

way too long. Tomorrow, if someone challenged this then

what document do I have to prove this is a real
transaction?

x

58. On or about August 26, 2013, Person J executed a contract
with Avenue Ventures on behalf of Company D. Under the terms of the
contract, Avenue Ventures would provide consultancy services to
further Company D’s attempts to enter into business relationships
throughout the world on an as-needed basis. In return, Company D

would pay Avenue Ventures a retainer of $250,000 per year plus.

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additional retainers and success fees as projects were realized, as
well as expenses.

59. Defendant ZUBERI failed to register under FARA as an agent
of Person J, a foreign national, and received income for acting as an
unregistered agent of Person J. For example, in or about August
2013, Avenue Ventures issued an invoice to Company D seeking $250,000
per the 2013 contract.” On or about August 29, 2013, Avenue
Ventures issued an invoice to Company D for $27,900 for expenses
incurred in relation to the anti-Bahrain lobbying effort. On or
about September 2013, Company D wired $277,858 to the IZ Barclays
Dubai account in payment on those invoices related to defendant
ZUBERI’s anti~Bahrain lobbying efforts.

60. From on or about January 15, 2014 through on or about March
5, 2014, defendant ZUBERI prevailed upon Members of Congress to issue
official letters to the Foreign Minister of Bahrain in support of the
anti-Bahrain lobbying efforts. In order to achieve this goal,
defendant ZUBERI falsely informed Members of Congress:

[A] major investment by a US company in Bahrain is

experiencing significant interference from Bahraini

authorities acting on behalf of a member of the royal

family. . . .-[Avenue Ventures] is seeking support from its

government for a cessation of interference in its project

in Bahrain.

61. In fact, Avenue Ventures had not invested any money or
acquired any stake in either AHC or Al Areen and the true purpose of
the lobbying efforts was to financially benefit Person J.

62. From on or about January 15, 2014 through on or about March
5, 2014, in response to the lobbying efforts of defendant ZUBERT on
behalf of Person J, twelve Members of Congress issued official

letters to the Foreign Minister of Bahrain citing the purported

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“harassment” of “U.S. investors” and asking that his government stop
its “interference.”

I. Conversion of Funds/Income Received From U.S. Cares Investors

 

63. From on or about August 12, 2013 through on or about
January 27, 2014, defendant ZUBERI solicited Person J, Person K,
Person L, Person M, and Person N to invest in U.S. Cares and caused
Avenue Ventures to enter into an operating agreement with their
respective companies.

64. The operating agreement that defined the investment
assigned the following ownership percentages in the venture: Avenue
Ventures (28.5%), Company D (20%), Company F (9.5%), Company E (2%),
Company G (20%), and Company H (20%). The agreement required the
establishment of a capital account with respect to each member's
capital contributions.

65. From on or about September 28, 2013 through on or about
March 11, 2014, the U.S. Cares investors wired approximately
$7,000,000 into the IZ Barclays Dubai account, an individual Emirates
Bank account in the name of defendant ZUBERI located in Dubai (“the
IZ Emirates Dubai account”), and a Bank of America account in the
United States held jointly in the name of defendant ZUBERI and his
spouse (“the IZ/WR BofA, account”).

66. Capital investments from Person N and his business, Company
H, and Person M’s business, Company G, were wired to defendant ZUBERI

as follows:

 

 

 

 

 

 

 

 

 

 

Transfer Date | Transfer Amount | Payor Zuberi Account
12/10/2013 $500,000 Person N IZ/WR BofA US
12/12/2013 $490,070 Person N IZ Emirates Dubai
12/22/2013 $245,031 Person N IZ Emirates Dubai
12/24/2013 _ $500,000 Company H IZ/WR BofA US
1/27/2014 $2,000,000 Company G IZ Emirates Dubai

 

 

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67. Defendant ZUBERI did not transfer any of the funds received
from U.S. Cares investors into a U.S. Cares capital account as
required by the operating agreement. Instead, from on or about
December 5, 2013 through on or about October 12, 2015, defendant

ZUBERI used over 90% of the investor funds to (a) purchase real

estate in the names of various limited liability companies owned

entirely by himself and his spouse (“I2Z/WR Real Property LLCs”), (b)
pay down mortgages owed by IZ/WR Real Property LLCs, (c) remodel
property owned by 1Z/WR Real Property LLCs, (d) invest in brokerage.
accounts in the names of defendant ZUBERI and his spouse, (e) donate
$250,000 to a non-profit organization established by a former high-
ranking elected official, and (f) pay down personal credit card debt,
most of which was incurred to pay campaign contributions and travel,
meal, entertainment, and personal expenses.

68. Out of approximately $7,000,000 wired to defendant ZUBERI
by U.S. Cares investors, less than $250,000 was spent in furtherance
of defendant ZUBERI’s advertised business purpose. On or about
October 7, 2013 and on or about December 9, 2013, defendant ZUBERI
issued two $90,000 checks to a law firm in connection with the
‘creation of U.S. Cares and preparing a license application to OFAC.
From in or about October 2013 through in or about February 2016,
defendant ZUBERI paid another attorney approximately $20,000 in
connection with the U.S. Cares license application.

69. In or about January 2016, United States sanctions against
Iran were lifted, which impacted OFAC regulations pertaining to U.S.
Cares.

70. On or about February 22, 2016, OFAC responded to U.S. Cares
license application, stating that “. . . the Applicant’s proposed

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transactions related to the exportation and reexportation of the
goods as described in the application appear to be generally
authorized[.]”

71. After the OFAC response, defendant ZUBERI took no further
action with respect to the license application, nor did he use any of
the converted funds to engage in the planned distribution of
humanitarian supplies to Iran.

J. Conversion of Funds/Income Received From Sri Lankan Government

72. From on or about November 28, 2013 through on or about
March 5, 2014, defendant ZUBERI met with high-ranking officials of
the Government of Sri Lanka and’ negotiated an agreement whereby
Avenue Ventures, or a special-purpose company created by Avenue
Ventures, would engage in lobbying and public relations efforts to
rehabilitate Sri Lanka’s image in the United States. This proposed
lobbying and public relations effort focused on modifying United
States policies, particularly through the issuance of Congressional
resolutions, and improving public perception relating to Sri Lanka’s
alleged persecution of its minority Tamil population.

73. On or about March 5, 2014, defendant ZUBERI pledged to
expend $2,250,000 per quarter in support of this effort with
$1,500,000 per quarter for lobbying expenses, $500,000 per quarter
for legal expenses, and $250,000 per quarter for media buys.
Defendant ZUBERI told Sri Lankan officials that the effort would
include introducing Sri Lankan officials to executive branch
administration officials, Senators, and Congresspersons, and
recruiting Sri Lankan expatriates to engage in political organizing

in the United States.

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74. On or about April 26, 2014, WR entered into a contract,
effective May 1, 2014, with the Central Bank of Sri Lanka (“the Sri
Lanka-WR contract”). The Sri Lanka-WR contract described WR’s
services as “(i) strategic advice related to commercial and public
policy considerations related to the US and other parties;” and (ii)
“identification of consultants or other legal or non-legal advisors
to [Sri Lanka] and the Central Bank as may effectuate Sri Lanka's
commercial and diplomatic objectives.” In return, the Sri Lanka-WR
contract required the payment of $8,500,000 in accordance with the
following schedule: $3,500,000 on May 1, 2014, and five payments of
$1,000,000 per month from June through October 2014.

75. On or about May 9, 2014, at defendant ZUBERI’s request, the
Central Bank of Sri Lanka wired $3,500,000 to the IZ/WR BofA account.

76. In or about May 2014, defendant ZUBERI transferred
$1,600,000 of the Sri Lankan money into his personal brokerage
accounts, $1,500,000 to escrow accounts for the purchase of real
property in the name of an IZ/WR Real Property LLC, $300,000 to pay
debt on personal credit card accounts, and most of the remaining
$100,000 into bank accounts. held by IZ/WR Real Property LLCs (“IZ/WR
Real Property LLC accounts”). ,

77. On or about June 18, 2014, at defendant ZUBERI’s request,
the Central Bank of Sri Lanka wired $1,000,000 to the IZ2/WR BofA
account.

78. %In or about June 2014, defendant ZUBERI transferred
approximately $650,000 of Sri Lanka money into his brokerage accounts
and almost $200,000 of Sri Lanka money into IZ/WR Real Property LLC

accounts.

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- 79. In or about July 2014, Sri Lankan officials insisted that
the payments in connection with the Sri Lanka-WR contract be
disbursed to the contracting party, WR, rather than to defendant
ZUBERI’s personal bank account. In addition, Sri Lankan officials
requested receipts from WR with respect to the wire transfers already
made.

80. On or about July 9 and 10, 2014, defendant ZUBERI directed
Person P to issue fraudulent receipts on behalf of WR for the
$3,500,000 and $1,000,000 wire transfers, despite the funds having
been received into defendant ZUBERI’s personal bank account and spent
for defendant ZUBERI’s personal benefit.

81. On or about July 18, 2014, the Central Bank of Sri Lanka
wired $1,000,000 into a WR bank account.

82. From in or about July 2014 through in or about September
2014, defendant ZUBERI directed Person P to transfer over $500, 000 of
Sri Lankan money from WR to corporate entities controlled by
defendant ZUBERI and his spouse, including Avenue Capital Group, LLC
(“ACG”), ISZ 9 LLC (“IS2”%), Fountain, LLC (“Fountain”), and Clary LLC
(“Clary”). Defendant ZUBERI then transferred most of the Sri Lankan
money into the IZ2/WR BofA account, which were then used for defendant
ZUBERI’s personal benefit, including brokerage account investments,

real estate investments, and to pay debt on his personal credit

 

 

 

cards. The transactions are summarized below:
1st Transfer 2-1 Transfer 3°¢ Transfer Beneficiary
$250,000 to $225,000 to $100,000 to
ISZ 9 IZ/WR BofA Etrade IZ/WR
$100,000 to
Btrade TZ/WR

 

 

 

 

 

 

 

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$250,000 to $225,000 to $113,484 to
Fountain IZ/WR BofA American Express TZ/WR
$100,000 to
Etrade IZ/WR
$250,000 to $240,000 to $135,000 to
Clary ATS BGS BGS
$50,000 to
American Ctrl
Escrow ITZ/WR
$50,000 to
American Ctrl
Escrow IZ/WR
$200,000 to $149,000 to ,
ACG BGS BGS
$25,000 to
Person R PERSON R
$25,000 to
Person R PERSON R-
$40,000 to
BGS BGS
$5,000 to
BGS BGS
$5,000 to
Person P PERSON P

 

 

 

 

 

 

 

83. On or about September 10, 2014, the Central Bank of Sri

Lanka wired $1,000,000 into a WR bank account.

84. From in or about September 2014 through in or about October

2014, defendant ZUBERI directed Person P to transfer approximately

$725,000 of Sri Lankan money from WR to corporate entities controlled

by defendant ZUBERI, including ACG and Avenue Investment Services,’

LLC (“ATS”).

Defendant ZUBERI then transferred most of the funds

into the I2Z/WR BofA account, which were then used for defendant

ZUBERI’s personal benefit, including brokerage account investments

and to pay debt on his personal credit cards.

summarized below:

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The transactions are

 

 

 
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15st Transfer | 2"? Transfer 374 Transfer Beneficiary
$475,000 to $390,000 to $36,674 to
ACG (2 cks) | IZ/WR BofA American Express I2/WR
$100,000 to
Etrade IZ/WR
$100,000 to
Schwab I2/WR
$100,000 to
Schwab IZ/WR
$35,000 to
Nelson
Mullins NM
$13,500 to
BGS BGS
$475,000 to } $355,000 to $100,000 to
AIS (2 cks) | IZ/WR BofA Etrade IZ2/WR
$100,000 to
Etrade IZ/WR
$100,000 to
Etrade TZ/WR
$66,674 to
American Express IZ/WR
$50,000
to BGS BGS
$6,000 to
BGS BGS
$24,750 to
BGS BGS
$8,750 to
BGS BGS
$16,500 to
Person P PERSON P

 

 

 

 

 

 

85. Out of the $6,500,000 wired from Sri Lanka pursuant to the
Sri Lanka-WR contract, defendant ZUBERI directed over $5,650,000 to
the benefit of defendant ZUBERI and his spouse.

86. Out of the $6,500,000 wired from Sri Lanka pursuant to the
Sri Lanka-WR contract, less than $850,000 was paid to lobbyists,
public relations firms, law firms, and other subcontractors
identified by defendant ZUBERI and retained by BGS.

87. At defendant ZUBERI’s direction, Person P failed to pay
Defendant ZUBERT

certain invoices issued by these subcontractors.

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falsely represented to these unpaid subcontractors that Sri Lanka had
provided insufficient funds to make payment and that BGS and Person P
were in possession of funds received from Sri Lanka when, in fact,
defendant ZUBERI had directed Person P to transfer the Sri Lankan
funds to benefit defendant ZUBERI personally.

K. Income Received in 2015

 

88. On or about March 27, 2015, Company I, a Ukrainian foreign
entity, wired $1,000,000 to the IZ/WR BofA account as payment on an
invoice for consulting services issued by defendant 4UBERI.

89. Defendant ZUBERI used the majority of the Company I funds
for his personal benefit as follows: $650,000 to defendant ZUBERI’s
personal brokerage accounts, $174,000 to pay debt on his personal
credit card, $39,500 to purchase a BMW automobile, and $22,408 to pay
taxes he owed to the California Franchise Tax Board.

90. On or about August 4, 2015, Person J wired $1,000,000 to an
ACG bank account for “Consultancy Fees from Al-Areen project.”

91. On or about August 5, 2015, defendant ZUBERI used the
majority of the funds received from Person J to issue a $770,000
check that he deposited into the IZ/RW BofA account. These funds
were combined with othér funds to wire $3,183,800 to an escrow
company in connection with the purchase of a property in the name of
an IZ/WR Real Property LLC.

92. On or about October 26, 2015, Company C wired $999,980 to
an ACG bank account for an “Engagement Fee.” The fee constituted a
retainer for Avenue Ventures to provide consultancy services to
assist Company C to engage in business relationships with government
entities and private companies throughout the world on an as-needed
basis.

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93. On or about October 28, 2015, defendant ZUBERI’s spouse
used the majority of the funds received from Company D to purchase a
$626,000 cashier’s check payable to an escrow company in connection
with the purchase of a property in the name of an IZ/WR Real Property
LLC.

L. Unreported Income

94. Defendant ZUBERI had a legal obligation to file an U.S.
Individual Income Tax Return, IRS Form 1040 (“Form 1040”) for the
2012 calendar year because, at a minimum, defendant ZUBERI received
approximately $886,700 from Company B for campaign contributions that
defendant ZUBERI instead converted to his own benefit.
Notwithstanding this obligation, defendant ZUBERI did not file a Form
1040 reporting income he received during the 2012 calendar year.

95. On or about April 15, 2014, defendant ZUBERI and his spouse
caused the electronic filing of a Form 1040 for the 2013 calendar
year. Defendant ZUBERI falsely reported on line 22 of that tax
return a total income of $182,211. This amount was understated
because, at a minimum, the Form 1040 failed to account for (a)
approximately $215,000 defendant ZUBERI received from Company B for
contributions to Event EE that defendant ZUBERI instead converted to
his own benefit and (b) approximately $2,223,000 defendant ZUBERI
converted from U.S. Cares investors during the 2013 calendar year.

96. On or about April 15, 2015, defendant ZUBERI and his spouse
caused the electronic filing of a Form 1040 for the 2014 calendar
year. Defendant ZUBERI falsely reported on line 22 of that tax
return a total income of $558,233. This amount was understated
because, at a minimum, the return failed to account for (a)
approximately $5,650,000 defendant ZUBERI received either directly

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from Sri Lanka or indirectly from Sri Lanka through WR in connection

with the Sri Lanka-WR contract and which defendant ZUBERI expended

for his own personal benefit and (b) approximately $2,200,000

defendant ZUBERI converted from U.S. Cares investors during the 2014

calendar year.

97. On or about October 14, 2016, defendant ZUBERI and his
spouse caused the electronic filing of a Form 1040 for the 2015
calendar year. Defendant ZUBERI falsely reported on line 22 of that
tax return a total income of $1,959,992. This tax amount was
understated because the return failed to account for (a) $1,000,000
received from Company I by ACH, which should have been accounted for
on defendant ZUBERI’s Form 1040 as business income, and (b)
approximately $1,000,000 defendant ZUBERI converted from U.S. Cares
investors during the 2015 calendar year.

M. Defendant Zuberi’s Lobbying and Public Relation Activities
Conducted at the Direction and Control of the Sri Lankan
Government
98. From in or about December 2013 through in or about October

2014, defendant ZUBERI directed and personally engaged in lobbying

and public relations activities targeting United States elected

officials and their staff, at the direction and control of Sri Lanka.

Defendant ZUBERI (a) solicited, on behalf of Sri Lanka, Members of

Congress to accept all-expenses-paid trips to Sri Lanka, (b) authored

emails and wrote proposals for Sri Lanka setting forth the strategy

of the influence campaign, (c) interviewed, recommended, and
negotiated subcontracts with lobbyists for Sri Lanka, (d) organized
conference calls with lobbyists to set forth their responsibilities,

(e) coordinated a series of meetings in Washington, D.C. between Sri

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Lankan officials and United States Senators, Congresspersons, and
their staff, (f) personally introduced members of a Sri Lanka
delegation to Members of Congress, and (g) participated in meetings
with United States Government officials at which the goals of the Sri
Lanka delegation were discussed.

99. From on or about April 26, 2014 through on or about July
14, 2014, defendant ZUBERI directed Person P to sign the Sri Lanka-WR
contract, create BGS and WR, and open bank accounts for those
companies to insulate and conceal defendant ZUBERI’s control of the
Sri Lanka lobbying and public relations effort, and defendant
ZUBERI’s personal receipt of money from Sri Lanka. In reality, BGS
and WR acted as alter egos of defendant ZUBERI and all efforts
undertaken by those entities were, in fact, directed by defendant
ZUBERT. |

100. Beginning on or about June 2, 2014, defendant ZUBERI
instructed Person P to sign contracts on behalf of BGS in which it
retained various lobbyists to support the Sri Lanka-WR contract.
Deféndant ZUBERI instructed Person P when to pay lobbyists and other
subcontractors on behalf of BGS and WR. Defendant ZUBERI instructed
Person P not to pay certain lobbyists, despite their rendering of
services.
N. FARA Violations Pertaining to Sri Lanka

101. From in or about December 2013 through in or about October
2014, defendant ZUBERI was the agent of Sri Lanka, and therefore had
personal registration obligations under FARA.

102. Defendant ZUBERI failed to register with the Department of
Justice as a foreign agent of Sri Lanka prior to acting on Sri
Lanka’s behalf.

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103. In an effort to conceal his conduct at the direction and
control of Sri Lanka, defendant ZUBERI directed Person P to register
BGS, rather than defendant ZUBERI himself. On or about June 2, 2014,
Person P filed a FARA registration statement for BGS as an agent of
Sri Lanka. On or about August 14, 2014, BGS filed a supplemental
registration statement. In each of these 2014 registration
statements, BGS failed to report any of the money it received from
Sri Lanka, the money disbursed to companies under defendant ZUBERI’s
control, or the money disbursed to various subcontractors that had
engaged in the Sri Lanka lobbying and public relations effort.

104. On or about June 2, 2014, Person P filed a “short-form”
FARA registration statement, identifying himself as a director of
BGS.

105. On or about June 2, 2014, at defendant ZUBERI’s direction,
Person Q filed a short-form FARA registration statement, identifying
himself as a director of BGS.

106. On or about August 14, 2014, defendant ZUBERI filed a
short-form FARA registration statement, claiming that BGS contracted
with him to provide consulting work on behalf of Sri Lanka. |

107. Defendant ZUBERI’s short-form statement contained material
false statements and omitted material facts. These included, but
were not limited to, that defendant ZUBERI willfully and falsely
claimed that (a) BGS retained him as a consultant when, in fact, he
orchestrated all of BGS’s activities, (ob) he engaged in no political
activity on behalf of Sri Lanka, when, in fact, he lobbied the United
States Congress on behalf of Sri Lanka, (c) he merely received a ~
salary from BGS “[n]ot based solely on services rendered to the
foreign principal,” when, in fact, he received not a salary from BGS,

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but rather over $5,650,000 of Sri Lanka funds, and (d) he had made no
political contributions on his own behalf during the period beginning
60 days prior to the date of his obligation to register to the time
of the filing of the short-form FARA registration statement, when, in
fact, defendant ZUBERI made contributions to dozens of election
campaigns during this timeframe. In addition, in that short-form
statement, defendant ZUBERI did not disclose the $3,500,000 and
$1,000,000 wire transfers he had received into the IZ/WR BofA account
in May and June 2014, or the $500,000 in Sri Lanka funds he had
converted from WR to his own benefit in July 2014.

108. Notwithstanding WR’s contract with Sri Lanka, WR did not
register under FARA at any time during the 2014 calendar year.

109. The net result of defendant ZUBERI’s failure to register
under FARA and the 2014 FARA filings containing material false
statements and material omissions was that the American public was
unaware of millions of dollars routed by Sri Lanka to defendant
ZUBERL and the scope of his concerted and foreign-funded efforts to
transform United States foreign policy and public opinion to the
benefit of that foreign government.

110. In or about late July 2015, defendant ZUBERI was contacted
by a reporter for an online magazine, who ultimately published an
article reporting that defendant ZUBERI had received millions of
dollars from the former Government of Sri Lanka, failed to make
requisite FARA disclosures, and was the subject of an investigation
by the U.S. Department of Justice in Washington, D.C.

411i. After his contact with the reporter, but prior to the
publication of the article, defendant ZUBERI directed Person P to
file FARA registration material prepared by an attorney retained by

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defendant ZUBERI. On or about August 11, 2015, Person P issued a
letter to NSD to “disclose voluntarily a relationship between FARA
registrant [BGS and WR], which was not on BGS’s FARA registration.”
The letter falsely asserted that:

[WR] is a US business consulting entity which performed

services for the Government of Sri Lanka [] including

consulting, research, and related services. | [WR] did not
perform any lobbying services. [WR] appointed BGS to help
identify and engage with consultants who could advance [Sri

Lanka] public policy interests in the US. There was no

written contract or specific correspondence to disclose on

Exhibit B to BGS’ Registration Statement. Additionally,

there was no set fee for these services, and there was no

specific term for these activities. The activity has ended

and BGS has since filed its termination statement.

112. On or about September 9, 2015, over 20 months after having
begun working at the direction and control of Sri Lanka, defendant
ZUBERI filed a FARA registration statement, including an attached
supplemental statement. In the filing, defendant ZUBERI disclosed
his receipt of $3,500,000 on May 9, 2014, and $1,000,000 on June 18,
2014, for “business consulting service, including non-specified
amount for public affairs.” Defendant ZUBERI also disclosed the Sri
Lanka-WR contract, defendant ZUBERI’s personal campaign contributions
during the relevant timeframe, and disbursements to various lobbyists
and other subcontractors.

113. Defendant ZUBERI’s September 2015 FARA filing nevertheless
contained material false statements and omitted material facts.
These included, but were not limited to, that defendant ZUBERI
willfully and falsely claimed that he provided no services to Sri
Lanka after September 2014. In fact, on October 15, 2014, défendant
ZUBERI reported to Sri Lanka officials a pledge from a Member of
Congress to visit Sri Lanka in January 2015. In addition, on

December 4, 2014, defendant ZUBERI promised a Sri Lanka official that

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he would “extend[] the current contract up to March 2015 at no cost
to [Sri Lanka] .”

114. Defendant ZUBERI’s September 2015 FARA filing was
accompanied by a letter from his attorney that falsely described his
involvement as merely providing business consulting services to Sri
Lanka and funding to BGS for public affairs consulting purposes. The
letter falsely stated that FARA registration was not required because
defendant ZUBERI engaged in non-political work in furtherance of
commerce, the Sri Lanka-WR contract was only a business consulting
contract that did not call for lobbying by defendant ZUBERI or WR,
and defendant ZUBERI himself did not conduct or plan to conduct any
lobbying or public relations work for Sri Lanka. In fact, defendant
ZUBERI was the primary organizer of paid political efforts to mold
the opinion of Members of Congress and executive branch
administration officials, at the direction and control of Sri Lanka.

115. On or about September 15, 2015, more than 16 months after
WR contracted with Sri Lanka, WR filed its initial FARA registration
statement and associated forms. The filing disclosed the two
$1,000,000 wire transfers WR received from Sri Lanka in July 2014 and
September 2014. The filing falsely declared that most of WR’s
activities were not reportable pursuant to FARA because only a
portion of the money directed to BGS was for public affairs
consulting that had been previously disclosed by registered entities.

116. On or about September 15, 2015, BGS filed supplemental FARA
registration statements. The BGS filing reported that BGS had
engaged in “general consultative services related to some of foreign

principal’s work on government affairs” and finally reported the

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money received from defendant ZUBERI and WR as well as disbursements
to various lobbyists and other subcontractors.
117. These Introductory Allegations are incorporated into each

count of the Information.

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COUNT ONE
[22 U.S.C. §§ 612, 618(a) (2)]

On or about August 14, 2014 and September 9, 2015, in Los
Angeles County, within the Central District of California, defendant
IMAAD SHAH ZUBERI knowingly and willfully made and caused to be made
false statements of material fact, willfully omitted material facts
required to be stated therein, and willfully omitted material facts’
necessary to make the statements therein and the copies of documents
furnished therewith not misleading, in documents filed with and
furnished to the Attorney General under the provisions of the Foreign
Agent Registration Act. Specifically:

In box 11 of the short-form registration statement filed on or
about August 14, 2014, defendant ZUBERI falsely stated that he was a
“Consultant to Beltway Government Strategies.” In fact, as defendant
ZUBERI knew at time he made the statement, he created and controlled
Beltway Government Strategies.

In box 12 of the short-form registration statement filed on or
about August 14, 2014, defendant ZUBERI falsely stated that his
services to the Government of Sri Lanka did not include political
activity, as defined by FARA. In fact, as defendant ZUBERI knew at
the time he made the statement, ZUBERI’s services to the Government
of Sri Lanka included an extensive amount of political activity.

In box 14 of the short-form registration statement filed on or
about August 14, 2014, in response to the question, “What
compensation or thing of value have you received to date or will you
receive for the above services?”, defendant ZUBERI falsely stated
that he received a salary from BGS “[n]ot based solely on services
rendered to the foreign principal” and intentionally omitted that he

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received $3,500,000 in May 2014 and $1,000,000 in June 2014 solely
based on lobbying services rendered to Sri Lanka.

In box 15 of the short-form registration statement filed on or
about August 14, 2014, defendant ZUBERI stated that he had made no
political contributions on his own behalf during the period beginning
60 days prior to the date of his obligation to register to the time
of the filing of the short-form FARA registration statement. In
fact, as defendant ZUBERI knew at the time he made the statement, he
had contributed to dozens of election campaigns during this
timeframe.

In box 7 of the supplemental statement filed on or about
September 9, 2015, defendant ZUBERI listed “09/30/2014” as the date
when his connection with the Government of Sri Lanka terminated.
Similarly, in box 14(a) of the supplemental statement filed on or
about September 9, 2015, defendant ZUBERI stated that his
relationship with the Government of Sri Lanka “ended in September
2014.” In fact, as defendant ZUBERI knew at the time he made these
statements, he continued to act as an agent for the Government of Sri

Lanka after September 30, 2014.

 

 

 
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COUNT TWO
[26 U.S.C. § 7201]

From on or about May 9, 2014, to on or about April 15, 2015, in
Los Angeles County, within the Central District of California,
defendant IMAAD SHAH ZUBERI, a resident of El Monte, California,
willfully attempted to evade and defeat the assessment and payment of
the income tax due and owing by him and his spouse to the United
States of America for the calendar year 2014, by committing the
following affirmative acts, among others:

a. Diverting over $5,650,000 received for the purposes of
the Sri Lanka-WR contract to the benefit of defendant ZUBERI and his
spouse; and

b. Causing to be filed with the Director, Internal
Revenue Service Center, at Fresno, California, a false and fraudulent
joint U.S. Individual Income Tax Return, Form 1040 that stated the
joint total income of defendant ZUBERI and his spouse for the
calendar year was $558,233 and that the amount of tax due and owing
thereon was $52,069. In fact, as defendant ZUBERI then knew, their
joint total income for the calendar year 2014 was in excess of
$5,650,000, and, upon the additional taxable income, an additional

tax was due and owing to the United States of America.

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COUNT THREE
[52 U.S.C. §§ 30116, 30118, 30121, 30122, 30109(d) (1)]

During the calendar year 2015, in Los Angeles County, within the
Central District of California, defendant IMAAD SHAH ZUBERI knowingly
and willfully violated the Federal Election Campaign Act, in amounts
aggregating at least $25,000 during that calendar year, by (a) making
contributions in the names of other individuals, (b) reimbursing
contributions made by other individuals, (c) receiving reimbursements
from other individuals for contributions he made, (d) soliciting
contributions made by foreign nationals, and (e) making contributions
with money received from, or reimbursed by, foreign nationals and
foreign entities.

NICOLA T. HANNA
United States Attorney

BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

MACK E. JENKINS
Assistant United States Attorney
Chief, Public Corruption &

Civil Rights Section

DANIEL J. O'BRIEN

Assistant United States Attorney

Deputy Chief, Public Corruption &
Civil Rights Section

ELISA FERNANDEZ

Assistant United States Attorney
Public Corruption &

Civil Rights Section

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EXHIBIT B — FACTUAL BASIS

FARA Violations

Between November 28, 2013 through March 5, 2014, defendant met with
high-ranking officials of the Government of Sri Lanka (“Sri Lanka”)
and negotiated an agreement whereby Avenue Ventures, or a special
purpose company created by Avenue Ventures, would engage in lobbying
and public relations efforts to rehabilitate Sri Lanka’s image in the
United States. This proposed lobbying and public relations effort
focused on modifying U.S. Government policies, particularly through
the issuance of Congressional resolutions, and improving public
perception relating to Sri Lanka’s alleged persecution of its
minority Tamil population.

On April 26, 2014, WR Group (“WR”) entered into a contract, effective
May 1, 2014, with the Central Bank of Sri Lanka (“Sri Lanka-WR .
contract”). The Sri Lanka-WR contract described WR’s services as
"(i) strategic advice related to commercial and public policy
considerations related to the US and other parties;” and (ii)
“identification of consultants or other legal or non-legal advisors
to [Sri Lanka] and Central Bank as may effectuate Sri Lanka's
commercial and diplomatic objectives." In return, Sri Lanka-WR
contract required the payment of $8,500,000 in accordance with the
following schedule: $3,500,000 on May 1, 2014, and five payments of
$1,000,000 per month from June through October. 2014.

Defendant knowingly and willfully acted as an unregistered agent of
Sri Lanka by taking the following actions:

Between April 26, 2014 through July 14, 2014, defendant directed
Person P to sign the Sri Lanka-WR contract, create Beltway Government
Strategies (“Beltway”) and, later, WR to engage in lobbying and
public relations services, open bank accounts for those companies,
sign contracts on behalf of Beltway with various lobbyists and public
relations firms, and directed whom Person P was to pay and not pay on
behalf of Beltway and WR, all to insulate and conceal defendant’s own
involvement with Beltway and WR. In reality, Beltway and WR acted as
alter egos of defendant and efforts undertaken by those entities were
directed by defendant.

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From December 2013 through October 2014, defendant knowingly and
willfully acted as an unregistered agent of the GOSL. Defendant
solicited, on behalf of Sri Lanka, Members of the U.S. Congress to
accept all-expenses-paid trips to Sri Lanka, authored emails and
wrote proposals for Sri Lanka setting forth the strategy of the
campaign, interviewed, recommended, and negotiated contracts with
lobbyists for GOSL, and coordinated and participated in a series of
meetings in Washington, D.C. between a GOSL delegation and members of
the U.S. Congress and their staff.

On May 9, 2014 and June 18, 2014, Sri Lanka wired $3,500,000 and
$1,000,000, respectively, into defendant’s personal bank account for
services related to the Sri Lanka-WR contract. On each of July 18,
2014 and September 10, 2014, Sri Lanka wired $1,000,000 into a WR
bank account. At defendant’s direction, Person P transferred the
majority of these funds into accounts controlled by defendant, which
defendant then used for his personal benefit.

Defendant knowingly and willfully failed to register under FARA, as
required by law. Instead, on June 2, 2014, he caused Person P to
file FARA registration statement identifying Beltway as an agent of
its principal, Sri Lanka, when in fact he was the agent of Sri Lanka.
The registration statement contained material false statements and
omitted material facts. On August 14, 2014, defendant caused Person
P to file a supplemental statement on behalf of Beltway, which also
contained material false statements and omitted material facts. At
defendant’s direction, these two 2014 FARA registration filings
failed to report any of the money Beltway received from Sri Lanka,
the money disbursed to companies under defendant’s control, or the
money disbursed to subcontractors that had engaged in the Sri Lankan
lobbying and public relations effort.

Defendant knew that he, personally, was legally required to file with
the Attorney General a registration statement pursuant to FARA
because he had acted as the agent of a foreign principal,
specifically Sri Lanka. Defendant also knew that it was unlawful to
file a FARA registration statement containing material false
statements or material omissions of fact.

Defendant knowingly and willfully failed to file a FARA Registration
as required by law. Instead, on August 14, 2014, defendant filed

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with the Attorney General a short-form FARA registration statement,
and affirmed the truth and accuracy of the statement under penalty of
perjury. Defendant knowingly and willfully filed the short-form FARA
registration that contained materially false statements and omitted
material facts. In particular, defendant represented in section 7
that he was merely a consultant of Beltway, when, in fact, defendant
directed all of the activities of Beltway. In addition, defendant
represented in section 14 that he merely received a salary from
Beltway that was “[n]lot based solely on services rendered to the
foreign principal.” In fact, defendant received not a salary from
Beltway, but $6,500,000 million from the foreign principal, GOSL, in
return for lobbying and public relations services rendered to GOSL.
Finally, in section 15, defendant represented that, for the period
beginning 60 days prior to the date of his obligation to register to
the time of the short-form, he had not made any contributions of
money or other things of value from his own funds on his own behalf
in connection with any election to political office or in connection
‘with any primary election, convention or caucus held to select
candidates for any political office. In truth, between February 26,
2014 and August 14, 2014, defendant had made dozens of contributions
of money from his-own funds in connection with elections to political
office or primary elections to select candidates for political
office. Defendant knowingly and willfully made these material false
statements and material omissions on the short-form FARA registration
statement.

On September 9, 2015, defendant filed a FARA registration statement
and an attached supplemental statement for himself personally, which
also contained materially false statements and omitted material
facts. In the filing, defendant willfully and falsely claimed that
he provided no services to Sri Lanka after September 2014. In fact,
on October 15, 2014, defendant reported to GOSL officials a pledge
from a United States Congressman to visit Sri Lanka in January 2015.
In addition, on December 4, 2014, defendant promised a GOSL official
that he would “extend[] the current contract up to March 2015 at no
cost to the [GOSL].” Defendant’s September 2015 filing was
accompanied by a letter from his attorney that falsely described his
involvement as merely providing business consulting services to 5ri
Lanka and funding to Beltway for public affairs consulting purposes.
The letter falsely stated that FARA registration was not required
because defendant engaged in non-political work in furtherance of

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commerce. In fact, defendant was the primary organizer of paid
political efforts to mold the opinion of Members of Congress and
Obama Administration officials, all at the direction and control of,
and to benefit, Sri Lanka.

Tax Violations

On April 15, 2015, defendant caused the electronic filing of an IRS
Form 1040, U.S. Individual Income Tax Return for the 2014 calendar
year, for himself and his spouse. Line 22 of the tax return showed
total income of $558,233 and line 44 of the tax return showed a tax
amount of $238,105. The total income and tax amounts were
understated, because the return failed to account for payments of
$3,500,000 and $1,000,000 wired into defendant’s personal bank
account and two payments of $1,000,000 each wired into a WR bank
account by Sri Lanka for services rendered in accordance with the Sri
Lanka-WR contract. These amounts, less any unclaimed business
expenses, should have flowed through to defendant’s tax return as
business income. As a result, Mr. Zuberi owed substantially more
federal income tax for the 2014 calendar year than was declared due
on his income tax return for 2014.

When defendant caused the tax return to be electronically filed, he
knew that the Sri Lankan wire transfers were not included in the
information provided to the tax return preparer to prepare the return
and, as a result, that more tax was owed than was declared due on his
income tax return. By filing this false return, defendant attempted
to evade and defeat this additional tax and he did so willfully, in
that he knew federal tax law required that he file accurate tax
returns and report accurate tax due amounts, and he intentionally and
voluntarily caused the filing of a tax return that he knew contained
understated tax due amounts.

Defendant received gross income in 2012 that required him to file an
income tax return with the IRS. Defendant willfully failed to file a
tax return for 2012 despite knowing of his obligation to file.

Defendant knowingly and willfully attempted to evade and defeat an
income tax by providing inaccurate numbers to his tax return preparer
for 2013 and 2015 that resulted in a substantial income tax due and

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owing from the defendant in addition to that declared in his income
tax return.

The total amount of tax loss for the 2012 through 2015 tax years is
between $3.5 million and $9.5 million.

FECA Violations

During the calendar year 2015, defendant knowingly and willfully (a)
made contributions in the names of other individuals, (b) reimbursed
contributions made by other individuals, and (c) received

‘|reimbursements from other individuals for contributions he made in an

amount aggregating $25,000 and more, in connection with federal
elections.

Defendant knowingly and willfully made campaign contributions in the
name of other individuals by making online contributions with credit
cards belonging to himself and his spouse. Defendant knew that the
names of the other individuals were not the true sources of the money
used for the contributions because he used his own money as the whole
or partial source of those contributions. Defendant also knew that
it was unlawful to make these contributions in the names of other
individuals using his own money.

Defendant knowingly and willfully solicited and reimbursed conduit
contributors for campaign contributions they had made. Defendant
knew that it was unlawful to make conduit contributions or reimburse
the contributions of others.

Defendant knowingly and willfully solicited and accepted
reimbursements from other individuals for campaign contributions
defendant ZUBERI had made.

From 2012 through 2016, defendant made or solicited more than
$250,000 but less than $1,500,000 in campaign contributions in
violation of the Federal Election Campaign Act.

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CERTIFICATE OF SERVICE

 

I, Susana Ybarra, declare:
That I am a citizen of the

employed in Los Angeles County,

is the Office of United States Attorney,
California 90012; that I am over the age of 18;

Los Angeles,

United States and a resident of or
California; that my business address
312 North Spring Street,
and

that I am not a party to the above-titled action;

That I am employed by the United States Attorney for the

Central District of California,

who is a member of the Bar of the

United States District Court for the Central District of California,
at whose direction I served a copy:

PLEA AGREEMENT

L] Placed in a closed envelope
for collection and inter-
office delivery, addressed
as follows:

C1 By hand delivery, addressed
as follows:

L] Electronic Mail as follows:

at the last known address,
service by United States mail.

This Certificate is executed on October 22,

California.

I certify under penalty of
and correct.

Xl Placed in a sealed envelope
for collection and mailing via
United States mail, addressed as
follows:

Thomas O’Brien

Browne George Ross, LLP

801 S. Figueroa Street, Suite 1800
Los Angeles, CA 90017

Evan Davis

Hochman Salkin Toscher Perez, PC
9150 Wilshire Blvd., Suite 300
Beverly Hills, CA 90212

(1 By facsimile, as follows:

[] By Federal Express, as
follows:

at which place there is a delivery

2019 Los Angeles,

perjury that the foregoing is true

Susan Yoarra

 

Susana Ybarra
Legal Assistant

 

 
